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       United States Court of Appeals
           for the Federal Circuit
                     ______________________

                       STARKIST CO.,
                       Plaintiff-Appellant

                                v.

                       UNITED STATES,
                       Defendant-Appellee
                     ______________________

                           2021-1548
                     ______________________

       Appeal from the United States Court of International
    Trade in No. 1:14-cv-00068-TMR, Judge Timothy M. Reif.
                     ______________________

                          MANDATE
                     ______________________

        In accordance with the judgment of this Court, entered
    March 30, 2022, and pursuant to Rule 41 of the Federal
    Rules of Appellate Procedure, the formal mandate is
    hereby issued.

                                      FOR THE COURT

    May 23, 2022                      /s/ Peter R. Marksteiner
       Date                           Peter R. Marksteiner
                                      Clerk of Court
